                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION
                                NO. 23-cv-00493-FL

 INTERDIGITAL, INC.,                          )
 INTERDIGITAL VC HOLDINGS,                    )
 INC., INTERDIGITAL PATENT                    )
 HOLDINGS, INC., and                          )
 INTERDIGITAL MADISON                         )
 PATENT HOLDINGS SAS,                         )
                                              )
        Plaintiffs,                           )    JURY TRIAL DEMANDED
                                              )
 v.                                           )
                                              )
 LENOVO (UNITED STATES) INC.,                 )
 MOTOROLA MOBILITY LLC, AND                   )
 LENOVO PC HK LIMITED,                        )
                                              )
                                              )
        Defendants.


               AMENDED JOINT CLAIM CONSTRUCTION STATEMENT

       Pursuant to Local Patent Rule 304.3 and the Court’s Case Management Order (Dkt. 33) in

the above-captioned case, Plaintiffs InterDigital, Inc., InterDigital VC Holdings, Inc., InterDigital

Patent Holdings, Inc., and InterDigital Madison Patent Holdings SAS’s (collectively, “Plaintiffs”

or “InterDigital”) and Defendants Lenovo (United States) Inc., Motorola Mobility LLC, and

Lenovo PC HK Limited (collectively, “Defendants” or “Lenovo”) hereby provide their Amended

Joint Claim Construction Statement. In particular, the Parties herein identify proposed

constructions of each claim term, phrase, or clause which they have collectively identified for

claim construction purposes. A table containing the Parties’ proposed constructions and intrinsic

evidence of each construction is attached as Appendix A. The Parties also herein provide an



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identification of extrinsic evidence to support their proposed constructions. InterDigital’s

identification of extrinsic evidence is attached hereto as Appendix B. Lenovo’s identification of

extrinsic evidence is attached hereto as Appendix C. The Parties each reserve the right to rely on

intrinsic and extrinsic evidence relied upon by the other party.

       The Parties anticipate that the claim construction hearing will require no more than 6 hours.

The Parties reserve the right, but do not intend, to call any experts for live testimony. The Parties

may submit declarations from their identified experts explaining the technological background for

the ’877, ’859, and ’556 Patents, a description of how a person of ordinary skill in the art would

understand the disputed claim terms, and the identification of the function and structure, if any,

associated with the terms subject to means-plus-function treatment, which are identified in

Appendix A hereto.

       The Parties hereby agree that they may rely upon the expert declarations, deposition

testimony, and associated exhibits from Dr. Iain Richardson and Dr. Michael Orchard developed

in the related investigation before the International Trade Commission, In the Matter of Certain

electronic Devices, Including Smartphones, Computers, Tablet Computers, and Components

Thereof, Inv. No. 337-TA-1373 (U.S.I.T.C).


Dated: April 12, 2024




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                                                           APPENDIX A

I. Agreed Terms

 Term                     Claim(s)    Agreed Construction
 wherein subset           ’859 (15)   “wherein said subset comprises”
 comprises
 compression constraint   ’556 (2, 6) Plain and ordinary meaning
 circuit configured to    ’877 (7, 8) Plain and ordinary meaning (i.e., requires pre-
                                      existing programming of hardware and
                                      software to perform the cited functionality)


II. Disputed Terms

 Term                     Claim(s)    InterDigital’s Construction and                   Lenovo’s Construction and Identification
                                      Identification of Intrinsic and Extrinsic         of Intrinsic and Extrinsic Evidence
                                      Evidence
 arithmetic decoding      ’859 (10)   Proposed construction: The terms “stream”         The portion of this claim term following
 method for symbols                   and “current symbol” are limiting at least to     “comprising” is not part of the preamble
 coded in the form of a               the extent that they provide antecedent basis     and therefore is limiting. Regardless, the
 stream, comprising the               for those terms as they appear elsewhere in       entire term is limiting. The preamble is
 following steps                      the claim.                                        limiting.
 applied at switching
 points distributed in                stream: stream of data.                           To the extent construction is necessary,
 said stream to decode                                                                  stream: “stream of data”
 a current symbol                     switching point: a point in the stream at the
                                      level of which the probability model used to      current symbol: “a symbol that is currently
                                      code the current symbol can be modified.          being decoded”

                                      current symbol: a symbol that is currently        switching point: “a point in the stream at the
                                      being decoded.                                    level of which the probability model used to


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        Intrinsic evidence supporting InterDigital’s code the current symbol can be modified—
        construction: ’859 Patent at 4:57-60, 9:56-     i.e., a probability model can be selected”
        59, 10:65-11:1; ’859 Patent file history
        (IDG1373_0000211-221)                           Intrinsic evidence supporting Lenovo’s
                                                        construction: ’859 patent at 1:23-2:34,
        Extrinsic evidence supporting                   9:46-54, 4:21-60, 5:8-46, 6:44-46, 8:55-57,
        InterDigital’s construction: Expert             9:51-59, 10:21-23, 10:64-11:64, and
        testimony of Dr. Richardson regarding the       associated Figures including 1, 2, 9, 10, and
        understanding of one of skill in the art        11. Related patents and file histories
        including but not limited to the level of       including EP2449683.
        ordinary skill in the art, understanding of the
        claim term at issue, background, and context
        surrounding the technology at issue. The        Extrinsic evidence supporting Lenovo’s
        experts’ testimony may discuss the relevant     construction: Expert testimony of Dr.
        specifications, file histories, and other       Orchard regarding the understanding of one
        extrinsic evidence disclosed herein.            of skill in the art including but not limited to
                                                        the level of ordinary skill in the art,
        See also Appendix B.                            understanding of the claim term at issue,
                                                        background, and context surrounding the
                                                        technology at issue. The experts’ testimony
                                                        may discuss the relevant specifications, file
                                                        histories, and other extrinsic evidence
                                                        disclosed herein.

                                                          See also Appendix C.




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means for decoding       ’859 (15)   Proposed construction: Subject to § 112, ¶        Subject to § 112, ¶ 6.
from the stream, at                  6.
switching points                                                                       Function: decoding a probability model
distributed in said                  Function: decoding from the stream . . . a        identifier for the current symbol from the
stream to decode a                   probability model identifier                      stream, at switching points distributed in the
current symbol, for                                                                    stream
said current symbol, a               Structure: an arithmetic decoder and
probability model                    equivalents thereof. See ’859 Patent at FIG.      Structure: indefinite for lack of sufficient
identifier                           13, 13:25-52.                                     corresponding structure.

                                     Alternatively, the structure is an arithmetic     Intrinsic evidence supporting Lenovo’s
                                     decoder operable to perform the claimed           construction: ’859 patent at 1:23-2:11,
                                     function, as described in the specification in    2:29-34, 9:46-54, 4:27-28, 4:56-60, 5:8-46,
                                     connection with step 202 and equivalents          10:1-17, 10:64-11:34, 11:55-64, 13:25-14:2,
                                     thereof, step 202 being described in the          and associated Figures including 1, 2, 9-11
                                     specification, for example at the following       and 13.
                                     figures and passages: ’859 Patent at FIG. 13
                                     and 13:25-52 and FIGS. 10, 11 and 10:1-14,
                                     11:12-34.                                       Extrinsic evidence supporting Lenovo’s
                                                                                     construction: Expert testimony of Dr.
                                     Intrinsic evidence supporting InterDigital’s Orchard regarding the understanding of one
                                     construction: ’859 Patent at 1:23-58, 2:17-     of skill in the art including but not limited to
                                     18, 4:33-5:7, 6:34-30, 10:1-13, 10:64-11:52,    the level of ordinary skill in the art,
                                     13:32-35, 13:53-61; FIG. 4, 11, 13; ’859        understanding of the claim term at issue,
                                     Patent file history (IDG1373_0000211-221)       background, and context surrounding the
                                                                                     technology at issue. The experts’ testimony
                                     Extrinsic evidence supporting                   may discuss the relevant specifications, file
                                     InterDigital’s construction: Expert             histories, and other extrinsic evidence
                                     testimony of Dr. Richardson regarding the       disclosed herein.
                                     understanding of one of skill in the art
                                     including but not limited to the level of       See also Appendix C.
                                     ordinary skill in the art, understanding of the
                                     claim term at issue, background, and context

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                                      surrounding the technology at issue. The
                                      experts’ testimony may discuss the relevant
                                      specifications, file histories, and other
                                      extrinsic evidence disclosed herein.

                                      See also Appendix B.
means for selecting       ’859 (15)   Proposed construction: Subject to § 112, ¶       Subject to § 112, ¶ 6
using said probability                6.
model identifier a                                                                     Function: using the probability model
probability model in a                Function: selecting . . . a probability model    identifier to select a probability model in a
set comprising a                                                                       set comprising a current probability model
current probability                   Structure: an arithmetic decoder and             defined from symbols coded previous to the
model defined from                    equivalents thereof. See ’859 Patent at FIG.     current symbol and a subset of probability
symbols coded                         13 and 13:25-52.                                 models wherein said subset comprises at
previous to the current                                                                least one probability model defined by
symbol and a subset of                Alternatively, the structure is an arithmetic    default
probability models                    decoder operable to perform the claimed
wherein subset                        function, as described in the specification in   Structure: indefinite for lack of sufficient
comprises at least one                connection with step 204 and equivalents         corresponding structure
probability model                     thereof, step 204 being described in the
defined by default                    specification, for example at the following   Intrinsic evidence supporting Lenovo’s
                                      figures and passages: ’859 Patent at FIG. 13  construction: ’859 Patent at 1:23-2:11,
                                      and 13:25-52 and FIGS. 10, 11 and 5:36-43,    2:29-34, 4:27-28, 4:56-60, 5:8-46, 9:46-54,
                                      10:1-17, 11:12-36.                            4:56-60, 10:1-17, 10:64-11:36, 11:55-64,
                                                                                    13:25-14:2, and associated Figures
                                      Intrinsic evidence supporting InterDigital’s including 1, 2, 9-11 and 13.
                                      construction: ’859 Patent at 2:17-18, 5:35-
                                      43, 6:34-40, 8:4-7, 10:1-19; 11:12-36, 13:25-
                                      52, FIGs.10, 11; ’859 Patent file history     Extrinsic evidence supporting Lenovo’s
                                      (IDG1373_0000211-221)                         construction: Expert testimony of Dr.
                                                                                    Orchard regarding the understanding of one
                                      Extrinsic evidence supporting                 of skill in the art including but not limited to
                                      InterDigital’s construction: Expert           the level of ordinary skill in the art,
                                                                                    understanding of the claim term at issue,
                                                                -4-

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                                   testimony of Dr. Richardson regarding the         background, and context surrounding the
                                   understanding of one of skill in the art          technology at issue. The experts’ testimony
                                   including but not limited to the level of         may discuss the relevant specifications, file
                                   ordinary skill in the art, understanding of the   histories, and other extrinsic evidence
                                   claim term at issue, background, and context      disclosed herein.
                                   surrounding the technology at issue. The
                                   experts’ testimony may discuss the relevant       See also Appendix C.
                                   specifications, file histories, and other
                                   extrinsic evidence disclosed herein.

                                   See also Appendix B.
means for adding in    ’859 (15)   Proposed construction: Subject to § 112, ¶        Subject to § 112, ¶ 6
said subset said                   6.
current probability                                                                  Function: adding the current probability
model, the selected                Function: adding in said subset said current      model into the subset of probability models
probability model                  probability model
becoming the current                                                                 Structure: indefinite for lack of sufficient
probability model                  Structure: an arithmetic decoder and              corresponding structure.
                                   equivalents thereof. See ’859 at FIG. 13 and
                                   13:25-52.                                         Intrinsic evidence supporting Lenovo’s
                                                                                     construction: ’859 Patent at 1:23-2:11,
                                   Alternatively, the structure is an arithmetic     2:29-34, 4:27-28, 4:56-60, 5:8-46, 8:8-37,
                                   decoder operable to perform the claimed           9:46-54, 10:1-17, 10:64-11:43, 11:55-64,
                                   function, as described in the specification in    13:25-14:2, and associated Figures
                                   connection with step 205 and equivalents          including 1, 2, 9-11 and 13.
                                   thereof, step 205 being described in the
                                   specification, for example at the following
                                   figures and passages: ’859 Patent at FIG. 13      Extrinsic evidence supporting Lenovo’s
                                   and 13:25-52 and FIGS. 8, 10, 11 and 11:37-       construction: Expert testimony of Dr.
                                   43 (describing 205 and additionally that step     Orchard regarding the understanding of one
                                   205 can be identical to step 105), FIG. 7 and     of skill in the art including but not limited to
                                   8:8-37 (describing step 105).                     the level of ordinary skill in the art,
                                                                                     understanding of the claim term at issue,
                                                                                     background, and context surrounding the
                                                              -5-

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                                  Intrinsic evidence supporting InterDigital’s      technology at issue. The experts’ testimony
                                  construction: ’859 Patent at 2:17-18, 4:21-       may discuss the relevant specifications, file
                                  54, 8:8-46, 11:7-54; 13:25-54; FIG. 11; ’859      histories, and other extrinsic evidence
                                  Patent file history (IDG1373_0000211-221)         disclosed herein.

                                  Extrinsic evidence supporting                     See also Appendix C.
                                  InterDigital’s construction: Expert
                                  testimony of Dr. Richardson regarding the
                                  understanding of one of skill in the art
                                  including but not limited to the level of
                                  ordinary skill in the art, understanding of the
                                  claim term at issue, background, and context
                                  surrounding the technology at issue. The
                                  experts’ testimony may discuss the relevant
                                  specifications, file histories, and other
                                  extrinsic evidence disclosed herein.

                                  See also Appendix B.
means for decoding    ’859 (15)   Proposed construction: Subject to § 112, ¶        Subject to § 112, ¶ 6
said current symbol               6.
with said current                                                                   Function: decoding the current symbol with
probability model                 Function: decoding said current symbol            the current probability model

                                  Structure: an arithmetic decoder and              Structure: indefinite for lack of sufficient
                                  equivalents thereof. See ’859 Patent at FIG.      corresponding structure.
                                  13 and 13:25-52.
                                                                                    Intrinsic evidence supporting Lenovo’s
                                  Alternatively, the structure is an arithmetic     construction: ’859 patent at 1:23-2:11,
                                  decoder operable to perform the claimed           2:29-34, 4:27-28, 4:56-60, 5:8-46, 8:8-37,
                                  function, as described in the specification in    9:46-54, 10:1-9, 10:64-11:64,13:25-14:2,
                                  connection with step 206 and equivalents          and associated Figures including 1, 2, 7-11,
                                  thereof, step 206 being described in the          and 13.
                                  specification, for example at the following

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         figures and passages: ’859 Patent at FIG. 13    Extrinsic evidence supporting Lenovo’s
         and 13:25-52 and FIGS. 10, 11 and 10:18-19,     construction: Expert testimony of Dr.
         11:55-57.                                       Orchard regarding the understanding of one
                                                         of skill in the art including but not limited to
         Intrinsic evidence supporting InterDigital’s the level of ordinary skill in the art,
         construction: ’859 Patent at 1:23-54, 2:17-     understanding of the claim term at issue,
         18, 4:21-24, 4:33-54, 9:53-54, 10:18-19,        background, and context surrounding the
         11:55-57, 13:25-52, FIG. 11, 13; ’859 Patent    technology at issue. The experts’ testimony
         file history (IDG1373_0000211-221)              may discuss the relevant specifications, file
                                                         histories, and other extrinsic evidence
         Extrinsic evidence supporting                   disclosed herein.
         InterDigital’s construction: Expert
         testimony of Dr. Richardson regarding the       See also Appendix C.
         understanding of one of skill in the art
         including but not limited to the level of
         ordinary skill in the art, understanding of the
         claim term at issue, background, and context
         surrounding the technology at issue. The
         experts’ testimony may discuss the relevant
         specifications, file histories, and other
         extrinsic evidence disclosed herein.

         See also Appendix B.




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means for updating   ’859 (15)   Proposed construction: Subject to § 112, ¶ 6      Subject to § 112, ¶ 6
said current
probability model                Function: updating said current probability       Function: updating the current probability
according to the                 model                                             model according to the decoding of the
decoding of said                                                                   current symbol
current symbol                   Structure: an arithmetic decoder and
                                 equivalents thereof. See ’859 Patent at FIG.      Structure: an algorithm wherein an
                                 13 and 13:25-52.                                  occurrence number for the current symbol is
                                                                                   increased by 1
                                 Alternatively, the structure is an arithmetic
                                 decoder operable to perform the claimed           Intrinsic evidence supporting Lenovo’s
                                 function, as described in the specification in    construction: ’859 Patent at 1:23-2:11,
                                 connection with step 208 and equivalents          2:29-34, 4:27-60, 5:8-46, 8:8-37, 9:46-54,
                                 thereof, step 208 being described in the          10:1-22, 10:64-11:64, 13:25-14:2, and
                                 specification, for example at the following       associated Figures including 1, 2, 7-11, and
                                 figures and passages: ’859 Patent at FIG. 13      13.
                                 and 13:25-52 and FIGS. 10, 11, 4:33-54,
                                 10:20-22, 11:57-61.
                                                                                 Extrinsic evidence supporting Lenovo’s
                                 Intrinsic evidence supporting InterDigital’s construction: Expert testimony of Dr.
                                 construction: ’859 Patent at 1:34-54, 2:17-     Orchard regarding the understanding of one
                                 18, 4:33-54, 5:45-46; 6:45-46; 8:56-57,         of skill in the art including but not limited to
                                 10:22-23, 11:57-59, 13:32-35, FIG. 10, 11;      the level of ordinary skill in the art,
                                 ’859 Patent file history (IDG1373_0000211- understanding of the claim term at issue,
                                 221)                                            background, and context surrounding the
                                                                                 technology at issue. The experts’ testimony
                                 Extrinsic evidence supporting                   may discuss the relevant specifications, file
                                 InterDigital’s construction: Expert             histories, and other extrinsic evidence
                                 testimony of Dr. Richardson regarding the       disclosed herein.
                                 understanding of one of skill in the art
                                 including but not limited to the level of       See also Appendix C.
                                 ordinary skill in the art, understanding of the
                                 claim term at issue, background, and context

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                                      surrounding the technology at issue. The
                                      experts’ testimony may discuss the relevant
                                      specifications, file histories, and other
                                      extrinsic evidence disclosed herein.

                                      See also Appendix B.
sparse denoising filter   ’556 (1, 5) Proposed construction: Plain and ordinary       The portion of this claim term following
                                      meaning.                                        “comprising” is not part of the preamble
                                                                                      and therefore is limiting. Regardless, the
                                      Intrinsic evidence supporting InterDigital’s entire term is limiting. The preamble is
                                      construction: ’556 Patent cls. 4, 8; 1:12-17,   limiting.
                                      1:58-63, 2:4-62, 5:7-12,14:18-24, 9:23-28,
                                      9:44-48, 10:8-23, 10:62-11:1, 11:16-19,         To the extent construction is necessary,
                                      11:56-67, 13:21-65, 16:43-47, 17:11-18,         stream: “stream of data”
                                      17:30-36; ’556 Patent file history
                                      (IDG1373_00010395)                              current symbol: “a symbol that is currently
                                                                                      being decoded”
                                      Extrinsic evidence supporting
                                      InterDigital’s construction: Expert             switching point: “a point in the stream at the
                                      testimony of Dr. Richardson regarding the       level of which the probability model used to
                                      understanding of one of skill in the art        code the current symbol can be modified—
                                      including but not limited to the level of       i.e., a probability model can be selected”
                                      ordinary skill in the art, understanding of the
                                      claim term at issue, background, and context    Intrinsic evidence supporting Lenovo’s
                                      surrounding the technology at issue. The        construction: ’556 patent at 2:8-10, 2:14-
                                      experts’ testimony may discuss the relevant     21, 13:24-25, 13:43-44, 11:17-24, and
                                      specifications, file histories, and other       associated Figures including 1, 4, and 5.
                                      extrinsic evidence disclosed herein.            Patents and prosecution history for related
                                                                                       patents including U.S. 9,277,243, U.S.
                                      See also Appendix B.                             11,089,337, and PCT/US2007022795.




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                                                                                   Extrinsic evidence supporting Lenovo’s
                                                                                   construction: Expert testimony of Dr.
                                                                                   Orchard regarding the understanding of one
                                                                                   of skill in the art including but not limited to
                                                                                   the level of ordinary skill in the art,
                                                                                   understanding of the claim term at issue,
                                                                                   background, and context surrounding the
                                                                                   technology at issue. The experts’ testimony
                                                                                   may discuss the relevant specifications, file
                                                                                   histories, and other extrinsic evidence
                                                                                   disclosed herein.

                                                                                  See also Appendix C.
adaptive sparse de-   ’556 (1, 5) Proposed construction: Plain and ordinary       “sparse de-noising filter for performing a
noising filter                    meaning.                                        second pass to reduce noise, which is not a
                                                                                  deringing filter, that can adjust its own
                                  Intrinsic evidence supporting InterDigital’s parameters automatically”
                                  construction: ’556 Patent at 2:10-14, 10:57-
                                  59, 16:25-42, 16:65-17:4, 17:5-10; ’556         Alternatively, “a filter which exploits a
                                  Patent file history (IDG1373_00010395)          sparse image model using an over complete
                                                                                  set of linear transforms and hard thresh-
                                  Extrinsic evidence supporting                   holding, which is not a deringing filter, that
                                  InterDigital’s construction: Expert             can adjust its own parameters
                                  testimony of Dr. Richardson regarding the       automatically.”
                                  understanding of one of skill in the art
                                  including but not limited to the level of       Intrinsic evidence supporting Lenovo’s
                                  ordinary skill in the art, understanding of the construction: ’556 patent at 2:10-14, 2:4-9,
                                  claim term at issue, background, and context    13:53-56, 11:64-66, 12:1-42, and associated
                                  surrounding the technology at issue. The        Figures including 1, 4, and 5. Patents and
                                  experts’ testimony may discuss the relevant     prosecution history for related patents
                                  specifications, file histories, and other       including U.S. 9,277,243, U.S. 11,089,337,
                                  extrinsic evidence disclosed herein.            and PCT/US2007022795.


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         See also Appendix B.
                                               Extrinsic evidence supporting Lenovo’s
                                               construction: Expert testimony of Dr.
                                               Orchard regarding the understanding of one
                                               of skill in the art including but not limited to
                                               the level of ordinary skill in the art,
                                               understanding of the claim term at issue,
                                               background, and context surrounding the
                                               technology at issue. The experts’ testimony
                                               may discuss the relevant specifications, file
                                               histories, and other extrinsic evidence
                                               disclosed herein.

                                               See also Appendix C.




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                                         APPENDIX B

The below table contains extrinsic evidence in support of InterDigital’s position as to the proper
construction of the terms proposed for construction in the ’859, ’877, and ’556 Patents.

                          Description and Title of Extrinsic Evidence
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                                         APPENDIX C

The below table contains extrinsic evidence in support of Lenovo’s position as to the proper
construction of the terms proposed for construction in the ’859, ’877, and ’556 Patents.

                         Description and Title of Extrinsic Evidence
U.S. Patent No. 7,932,843
LENOVO_EDNC_00000226
U.S. Patent No. 8,351,502
LENOVO_EDNC_00000247
U.S. Patent No. 8,416,857
LENOVO_EDNC_00000280
U.S. Patent No. 8,718,149
LENOVO_EDNC_00000299
U.S. Patent No. 9,008,171 B2
LENOVO_EDNC_00000384
U.S. Patent No. 9,386,316
LENOVO_EDNC_00000409
Excerpts from File History for European Pat. Pub. No. 7 870 824
LENOVO_EDNC_00000436
Excerpts from File History for U.S. Pat. App. No. 17/367184
LENOVO_EDNC_00000914
Excerpts from File History for U.S. Pat. App. No. 15/585462
LENOVO_EDNC_00001989
Excerpts from File History for U.S. Pat. No. 9,277,243
LENOVO_EDNC_00002785
Excerpts from File History for European Pat. Pub. No. 2 082 583
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LENOVO_EDNC_00004671
Guo, H., 2016. Video Denoising Via Online Sparse and Low-Rank Matrix Decomposition. IEEE
Statistical Signal Processing Workshop (SSP). IEEE
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Xu, Jun et al., 2009. Sparsity-Based Deartifacting Filtering in Video Compression. ICIP (pp
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LENOVO_EDNC_00000203
U.S. Patent No. 9,277,243
LENOVO_EDNC_00000185




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